                             Case 19-12239-CSS             Doc 45        Filed 10/18/19        Page 1 of 1
                                            UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE



  IN RE:                                                             §                            CASE NO.          19-12239
  HIGHLAND CAPITAL MANAGEMENT, L.P.                                  §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    COLEMAN COUNTY TAD                        KAUFMAN COUNTY                            UPSHUR COUNTY
    FANNIN CAD                                TARRANT COUNTY                            GRAYSON COUNTY
    ALLEN ISD                                 DALLAS COUNTY                             IRVING ISD
    ROCKWALL CAD
 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 18th day of October, 2019, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

    JAMES E O'NEILL                              US TRUSTEE (DELAWARE)
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    FLOOR                                        LOCK BOX #35
    WILMINGTON, DE 19899-8705                    WILMINGTON, DE 19899-0035

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                                                         By: /s/ Elizabeth Weller
                                                              Elizabeth Weller
                                                              SBN: 00785514 TX
